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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

                         -v-                                              19 Cr. 696 (PAE)

 ARI TEMAN,                                                                    ORDER

                                        Defendant.


PAUL A. ENGELMAYER, District Judge:

        The Court has received a letter from appellate counsel for defendant Ari Teman, dated

April 13, 2022, requesting two categories of material. See Dkt. 313-1. The Court responds to

those requests as follows.

        1.       Sealed transcripts

         Appellate counsel states that "Mr. Teman has indicated that there are a certain number of

sealed transcripts from th<; trial court proceedings that may bear on issues of judicial bias and/or

recusal. I would respectfully request that your Honor authorize the release of these transcripts to

me as soon as possible so that I can assess their relevance." Id. at 1.

        The Court encourages appellate counsel to review the docket sheet in this case. It

reflects, in fact, the existence of only two sealed transcripts. Both are for proceedings that Mr.

Teman attended in their entirety. Counsel is encouraged to judge for himself whether these

transcripts support Mr. Teman's claims ofjudicial bias, or instead reflect appropriate solicitude

for his interests.

        The first is the transcript of Mr. Teman's sentencing, held on July 28, 2021. Dkt. 276.

The Court orders this transcript unsealed, as a review of the transcript does not reveal any basis

for it to be maintained under seal. The transcript reflects, inter alia, that: (1) the Court imposed a
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